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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
        v.                                      )      1:23-cr-139-JRS-KMB
                                                )
                                                )
ANDRZEJ BORYGA,                                 )
                                                )
                     Defendant.                 )

                       MOTION TO WITHDRAW DOCUMENT 16
                            ATTORNEY APPEARANCE

        Comes now Defendant, by counsel, William H. Dazey, Jr., and moves the Court

to withdraw Document 16 Attorney Appearance filed with this Court on October 6, 2023,

due to an error in the caption.

       WHEREFORE, the Defendant prays that this Court issue an Order Withdrawing

Document 16, Attorney Appearance.

                                          Respectfully submitted,


                                          William H. Dazey, Jr.
                                          William H. Dazey, Jr.
                                          Indiana Federal Community Defenders, Inc.
                                          111 Monument Circle, Suite 3200
                                          Indianapolis, IN 46204
                                          317-383-3520


                                  CERTIFICATE OF SERVICE

       I certify that on October 6, 2023, a copy of the foregoing was filed electronically.
Notice of this filing will be sent to the parties of record by operation of the Court=s
electronic filing system. Parties may access this filing through the Court=s system.

                                          William H. Dazey, Jr.
                                          William H. Dazey, Jr.
